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EXHIBIT C
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Brenner, Wendy

From: Brenner, Wendy

Sent: Tuesday, June 08, 2010 12:21 PM

To: ‘dfg@browngold.com’

Cc: Tenhoff, Gregory

Subject: RE: proposed Order

Attachments: HN-#859740-vrif-Draft_Order_Language_(2nd_Pl).DOC; HN-#859740-v2-

Draft_Order_Language_(2nd_P!).DOC

Hi Dan —

Attached is a draft order for your review. As my starting place, | used the text for the last order that we jointly
submitted to Judge Breyer following the first motion for preliminary injunction. | thought that would be the best
starting place since it worked for everyone last time. The redline that is attached shows the changes | have made to that
last draft.

Please give this a look over and call me when you get a chance.

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 « Fax: (650) 849-7400
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1. --shal With respect to the August 2010 administration of the MPRE, NCBE shall
provide ACT with the MPRE, in 14-point Arial font, loaded onto a laptop computer equipped with
JAWS and Zoom'Text software. NCBE shall also direct ACT to provide Ms. Enyart with the
following accommodations on the MarehAugust 2010 administration of the MPRE:

(a) Double the standard time
(b) A private room
(c) One five minute break every hour

(d) A scribe to fill in the answers and

aNCBE shall deliver the laptop computer e«
OWiathi-two-businessdays-ofthis-Order NCBE-shallto ACT no less than. two
Q ”) » dave prior to the adm to the administration of the examination, and request ACT to provide Ms. Enyart
with sutleient-timeaccess to the laptop twenty-four (24) hours before the commencement-ofthe
testguamination t to 9 attach ineher poems and customize the JAWS and ZoomText settings an

Additionally, NCBE shall_direct ACT to permit Ms. Enyart to use all of the following during the
examination as accommodations, all of which shall be brought to the examination by Ms. Enyart:

(fe) An ergonomic keyboard

(ef) A trackball mouse

(hg) A large monitor

(th) | Her own lamp to control lighting conditions
(41) Sunglasses

(ej) A yoga mat

¢k) Large print digital clock

(ml) Migraine medication

The ergonomic keyboard, trackball mouse, and monitor shall be devoid of any storage devices or
storage mechanisms and NCBE does not guarantee the interoperability of such devices with the
computer it provides. The examination shall be administered by ACT with the above
accommodations pursuant to the Stipulation Re: Voluntary Dismissal Without Prejudice of
Defendant ACT, Inc. filed with the Court on November 25, 2009.

2. With respect to the FebruaryJuly 2010 administration of the California Bar exam, NCBE
shall provide the State Bar of California, Committee of Bar Examiners (the “State Bar’) with the

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MBE, in 14-point Arial font, loaded onto a laptop computer equipped with JAWS and ZoomText
software-_furnished by NCBE. NCBE shall deliver the laptop computer to the State Bar no less

than two (2) days prior to the administration of the examination. The State Bar shall be responsible

for custody of, and access to, the laptop once it is delivered to the State Bar. Decisions with tespect
to the administration of the examination shall rest with the State Bar- Q i

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Document comparison by Workshare Professional on Tuesday, June 08, 2010 12:16:37
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Document 1!ID  |PowerDocs://HN/859740/1

Description HN-#859740-v1-Draft_Order_Language_(2nd_PI)
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Description HN-#859740-v2-Draft_Order_Language_(2nd_PI)
Rendering set Cooley

Legend:

Insertion

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Statistics:

Count
Insertions 25
Deletions 22
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Style change 0
Format changed 0
Total changes 49

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1. With respect to the August 2010 administration of the MPRE, NCBE shall provide ACT
with the MPRE, in 14-point Arial font, loaded onto a laptop computer equipped with JAWS and
ZoomText software. NCBE shall also direct ACT to provide Ms. Enyart with the following
accommodations on the August 2010 administration of the MPRE:

(a) Double the standard time

(b) A private room

(c) One five minute break every hour
(d) A scribe to fill in the answers

NCBE shall deliver the laptop computer to ACT no less than two (2) days prior to the
administration of the examination, and request ACT to provide Ms. Enyart with access to the
laptop twenty-four (24) hours before the examination to attach her peripherals and customize the
JAWS and ZoomText settings. ACT shall be responsible for custody of, and access to, the
laptop once it is delivered to ACT.

Additionally, NCBE shall direct ACT to permit Ms. Enyart to use all of the following during the
examination as accommodations, all of which shall be brought to the examination by Ms. Enyart:

(e) An ergonomic keyboard

(f) A trackball mouse

(g) A large monitor

(h) Her own lamp to control lighting conditions
(1) Sunglasses

(j) A yoga mat

(k) Large print digital clock

(1) Migraine medication

The ergonomic keyboard, trackball mouse, and monitor shall be devoid of any storage devices or
storage mechanisms and NCBE does not guarantee the interoperability of such devices with the
computer it provides. The examination shall be administered by ACT with the above
accommodations pursuant to the Stipulation Re: Voluntary Dismissal Without Prejudice of
Defendant ACT, Inc. filed with the Court on November 25, 2009.

2. With respect to the July 2010 administration of the California Bar exam, NCBE shall
provide the State Bar of California, Committee of Bar Examiners (the “State Bar”) with the
MBE, in 14-point Arial font, loaded onto a laptop computer equipped with JAWS and ZoomText
software furnished by NCBE. NCBE shall deliver the laptop computer to the State Bar no less
than two (2) days prior to the administration of the examination. The State Bar shall be

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responsible for custody of, and access to, the laptop once it is delivered to the State Bar.
Decisions with respect to the administration of the examination shall rest with the State Bar.

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